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                         THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                MARSHALL DIVISION

 Autoscribe Corporation                         §
                                                §
          Plaintiff,                            §
                                                §
    v.                                          §     Civil Action No. 2:23-CV-00349-JRG
                                                §
 Repay Holdings Corporation, et al.             §     JURY TRIAL DEMANDED
                                                §
          Defendants.                           §
                                                §
                                                §


                    JOINT MOTION FOR ENTRY OF AGREED ESI ORDER

         Plaintiff Autoscribe Corporation and Defendants Repay Holdings Corporation, et al.,

submit this Joint Motion to Enter the Parties’ Agreed ESI Order (the Proposed ESI Order is

attached hereto).




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Dated: May 30, 2024                        Respectfully submitted,

                                           /s/ Jason McManis
                                           Jason McManis
                                           State Bar No.: 24088032
                                           Colin Phillips
                                           State Bar No.: 24105937
                                           Chun Deng
                                           State Bar No.: 24133178
                                           Angela Peterson
                                           State Bar No.: 24137111
                                           Ahmad, Zavitsanos & Mensing, PLLC
                                           1221 McKinney Street, Suite 2500
                                           Houston, Texas 77010
                                           (713) 655-1101
                                           jmcmanis@azalaw.com
                                           cphillips@azalaw.com
                                           cdeng@azalaw.com
                                           apeterson@azalaw.com

                                           Andrea L. Fair
                                           State Bar No.: 24078488
                                           Ward, Smith, & Hill, PLLC
                                           1507 Bill Owens Parkway
                                           Longview, Texas 75604
                                           (903) 757-6400
                                           (903) 757-2323 (fax)
                                           andrea@wsfirm.com

                                           Attorneys for Autoscribe Corporation

                                           /s/ David H. Harper (with permission)
                                           David H. Harper (Lead Counsel)
                                           Texas Bar No. 09025540
                                           david.harper@haynesboone.com
                                           Stephanie N. Sivinski
                                           Texas Bar No. 24075080
                                           stephanie.sivinski@haynesboone.com
                                           Marron E. Frith
                                           TX Bar No. 24137884
                                           marron.frith@haynesboone.com
                                           HAYNES AND BOONE, LLP
                                           2801 N. Harwood Street
                                           Suite 2300
                                           Dallas, Texas 75201
                                           (214) 651-5000 (telephone)
                                           (214) 200-0615 (fax)



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                                           Counsel for Repay Holdings
                                           Corporation, et al.




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                                 CERTIFICATE OF SERVICE

       The undersigned hereby certifies that on May 30, 2024, a true and correct copy of the

foregoing was served on all counsel of record via the Court’s CM/ECF System. A true and correct

of this document is also being served to all counsel of record via electronic mail.



                                                         /s/ Jason McManis
                                                         Jason McManis



                             CERTIFICATE OF CONFERENCE

       On May 30, 2024, counsel for the Plaintiff and counsel for Defendants met and conferred

pursuant to Local Rule CV-7(h). The parties are in agreement and are filing this motion jointly.



                                                         /s/ Jason McManis
                                                         Jason McManis




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